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IACP LAW ENFORCEMENT POLICY CENTER

Interactions with Individuals with
Intellectual and Developmental
Disabilities

Model Policy
Concepts & Issues Paper
Need to Know....

Updated: August 2017

Publications of the IACP Law Enforcement Policy Center
44 Canal Center Plaza, Suite 200, Alexandria, VA 22314

These documents are the result of work performed by the [ACP Law Enforcement Policy Center. The views and opinions expressed in these documents are sanctioned
by the center’s advisory group and do not necessarily represent the official position or policies of the International Association of Chiefs of Police.
I. PURPOSE

It is the purpose of this policy to provide law
enforcement officers with guidelines for appropriately
accommodating, interacting, and communicating with
individuals with intellectual and developmental disabilities
(/DD).

Wl. POLICY

It is the policy of this agency that personnel will be
trained to recognize persons with I/DD; treat people with I/
DD with dignity and respect; utilize de-escalation protocols
when appropriate; and seek alternatives to physical custody
whenever possible.!

iI. DEFINITIONS

Intellectual disability (ID): A group of disorders
characterized by limited or diminished intellectual
functioning and difficulty with adaptive behaviors, such
as managing money, schedules and routines, or social
interactions.

Developmental disability (DD): A |ong-term disability
attributable to a physical, mental, or combination of
impairments that result in functional limitations in major
life activities, such as understanding and expressing
language, learning, moving, self-direction, self-care,
independent living, and economic self-sufficiency. The
disability must have originated before the age of 22 and
is likely to continue throughout the individual’s life.
“Developmental disability” is an umbrella term that
encompasses intellectual disability, but also covers some
physical disabilities. Some DDs might consist of physical

' Countries may have disability rights laws dat can directly regulate
law enforcement behavior when interacting with persons with disabil-
ities. For example, in the United States, Title II of the Americans with
Disabilities Act (ADA) applies to state and local government entities,
including law enforcement. The ADA requires reasonable modification
to existing policies and procedures to make them accessible to persons
with disabilities. For more information on the ADA, visit www.ADA,

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or sensory impairments only, such as blindness from

birth. Other DDs involve both physical impairments and
diminished intellectual functioning stemming from genetic
or other causes, such as Down syndrome.

IV. PROCEDURES
A. Use of De-escalation Techniques

Some people with I/DD might become easily

upset and can engage in self-harming behaviors

or act in aggressive ways. Fear, including fear of

law enforcement, frustration, and changes in their

daily routines and surroundings can trigger such
behavior. The mere presence of an officer can

also be a source of stress. People with I/DD often

have impairments that make it difficult for them to

process incoming sensory information. Therefore,

when interacting with individuals with I/DD,

officers should do the following:

1. Speak calmly.

2. Repeat short, direct phrases in a calm voice.
Avoid slang or euphemisms.

3. Use nonthreatening body language, soft ges-
tures, and avoid abrupt movements or actions.
Keep hands at sides and visible when possible.

4. Whenever reasonable and practical, avoid
touching the person unless there is an emer-
gency situation.

5. Maintain a safe distance, providing the person
with a zone of comfort that will also serve as a
buffer for officer safety.

6. Eliminate, to the degree possible, loud sounds,
bright lights, and other solirces of overstimu-
lation by turning off sirens and flashing lights;
asking others to move away; or, if possible,
moving the person to quieter surroundings.

7. Keep canines in the law enforcement vehicle
and preferably away from the area. However,
be aware that the person might have a service
animal. Do not separate a person from his or
her service animal if at all possible

8. Ifsafe to do so, avoid taking mobility devices,
such as canes, scooters, or wheelchairs away
from the person. If necessary to move or trans-
port such items, ask the person the best way to
do so.

9. Look for medical identification tags on wrists,
necks, shoes, belts, or other apparel. Some
persons, both verbal and non-verbal, carry wal-
let cards noting that they have I/DD and that
provide a contact name and telephone number
of a family member or other information.

10. If desired by the person with a disability, call
his or her support person, when such infor-
mation is available, or a disability advocacy
organization for assistance.

11. Be prepared for a potentially long encounter,
as dealings with such individuals should not be
rushed unless there is an emergency situation.
Officers should inform their communications
personnel or supervisor if a prolonged encoun-
ter is expected.

12. Do not interpret odd behavior as belligerent
or aggressive. In a tense or unfamiliar situa-
tion, some people with I/DD might shut down
and close off unwelcome stimuli (e.g., cover
ears or eyes, lie down, shake or rock, repeat
questions, sing, hum, make noises, or repeat
information in a robotic way). This behavior
is a protective mechanism for dealing with
troubling or frightening situations.

13. Do not stop the person from repetitive behav-
ior unless it is harmful to him or her or others.

14. Be aware of different forms of communication.
Some people with I/DD carry a book of uni-
versal communication icons. Pointing to one or
more of these icons will allow them to commu-
nicate where they live, their family member or
support person’s name, address, or what they
might need. Those with communication diffi-
culties can also demonstrate different speaking
capabilities, such as incorrectly using words.

B. Taking Persons with I/DD into Custody

Officers should seek alternatives to physical

custody of individuals with I/DD, as it is likely

to initiate a severe anxiety response and further

escalate a situation. This might include release of

the person to ns or her family, a support person,
or a community-based diversion program. In more
serious offense situations or where alternatives to
atres are not permissible, officers shall observe the
following guidelines:

10.

Contact a supervisor.

Employ calming and reassuring language and
de-escalation protocols.

If possible, contact the person’s family mem-
ber, support person, or other trusted individual
to accompany him or her and to assist in the
calming and intervention process. If a support
person is not readily available, request an indi-
vidual appropriately trained in crisis interven-
tion, if available.

When reasonable and practical, avoid phys-
ical restraints. The use of such restraints can
injure the person or limit the person’s ability to
communicate (e.g., a person who uses Amer-
ican Sign Language can no longer sign) or
move independently (e.g., someone who uses a
wheelchair or scooter can no longer use these
devices).

When possible, avoid using body weight to
restrain the individual. When unavoidable,
extreme caution should be exercised.

In accordance with this agency’s policy on
transportation of prisoners, search the indi-
vidual for weapons prior to transport. Do not
remove any assistive devices from the person
if at all possible, including canes, communica-
tion icons, hearing aids, braces, etc.

Prior to giving a Miranda warning or rights
pertaining to custodial interrogation, consult a
detective or investigator and have the person’s
lawyer present to help protect his or her rights.
If possible and practical, do not incarcerate the
person in a holding facility. If the person must
be detained, ask if the person prefers to be
housed alone, with a smaller group of people,
or in a larger group, in accordance with agency
policy. Some people with I/DD will be greatly
harmed by placement in administrative seg-
regation. Note during booking that the person
has I/DD and should be classified and assigned
to the appropriate housing unit. No person with
I/DD should be housed in a medical unit unless
treatment is needed.

Until alternative arrangements can be made,
and when safe to do so, place the individual in
a quiet room with a support person if request-
ed, another responsible individual, or an officer
who has experience interacting with people
with I/DD. P

Provide the person with any comfort items or
assistive devices that might have been in his or
her possession at the time of arrest (e.g., toys,
canes, reading devices, etc.), in accordance
with agency policy.
C. Interviews, Interrogations, and Use of the

Miranda/Custodial Rights Warnings

1. Officers conducting interviews or interroga-
tions of a person who is suspected of having
I/DD should consult with a supervisor, detec-
tive, or investigator assigned to the case, or the
prosecuting attorney’s office to determine how
to proceed.

2. Asupport person or disability advocate should
be allowed to be present to help ensure the
person’s rights are protected.

3. Miranda or other custodial rights warnings
should not be given to a suspect with I/DD
without his or her lawyer present. Many people
with I/DD are not able to fully understand their
rights, but will agree with the officer in order
to hide their disability or to appear coopera-
tive. However, alternative or simpler versions
of these warnings may be used. Officers should
also ask suspects to repeat their rights in their
own words to ensure understanding.

4. Interrogations of suspects with I/DD should
be recorded and the person should be notified
that the interrogation is being recorded. If the
interrogation is not recorded, the reason shall
be documented.

5. When interviewing individuals with I/DD,
officers should do the following:

a. Determine the individual’s primary mode
of communication and provide necessary
accommodations, translation services, or
both.

b. Not interpret lack of eye contact and
seemingly strange actions or responses as
indications of deceit, deception, or evasion
of questions.

c. Use simple, straightforward questions.
However, avoid yes or no questions, as
the individual might simply choose either
yes or no in an effort to please the officer,
rather than provide factual information.

d. Not suggest answers, attempt to complete
thoughts of persons slow to respond, or
pose hypothetical conclusions, recognizing
that people with I/DD can be more easi-
ly manipulated and might also be highly
suggestible.

Acknowledgment

This document was developed in conjunction with The

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Every effort has been made by the IACP Law
Enforcement Policy Center staff and advisory group to
ensure that this document incorporates the most current
information and contemporary professional judgment on
this issue. Readers outside of the United States should note
that, while this document promotes procedures reflective of
a democratic society, its legal basis follows United States
Supreme Court rulings and other federal laws and statutes.
Law enforcement administrators should be cautioned that
no “model” policy can meet all the needs of any given law
enforcement agency. Each law enforcement agency operates
in a unique environment of court rulings, state laws,
local ordinances, regulations, judicial and administrative
decisions and collective bargaining agreements that must
be considered, and should therefore consult its legal advisor
before implementing any policy. In addition, the formulation
of specific agency policies must take into account local
political and community perspectives and customs,
prerogatives and demands; often divergent law enforcement
strategies and philosophies; and the impact of varied agency
resource capabilities among other factors. This document is
not intended to be a national standard.

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I. INTRODUCTION

A. Purpose of the Document

This paper is designed to accompany the Model
Policy on Interacting with People with Intellectual and
Developmental Disabilities developed by the [ACP Law
Enforcement Policy Center. This paper provides essential
background material and supporting documentation to
provide greater understanding of the developmental
philosophy and implementation requirements for the model
policy. This material will be of value to law enforcement
executives in their efforts to tailor the model policy to the
requirements and circumstances of their community and
their law enforcement agency.

II. PERSONS WITH INTELLECTUAL AND
DEVELOPMENTAL DISABILITIES (I/DD)

A. Definitions

A developmental disability (DD) is a long-term
disability attributable to a physical, mental, or combination
of impairments, that result in functional limitations in
major life activities, such as understanding and expressing
language, learning, moving, self-direction, self-care,
independent living, and economic self-sufficiency. The
disability must have originated before the age of 22 and

is likely to continue throughout the individual’s life.
“Developmental disability” is an umbrella term that
encompasses intellectual disability, but also covers some
physical disabilities. Some DDs might consist of physical
or sensory impairments only, such as blindness from
birth. Other DDs involve both physical impairments and
diminished intellectual functioning stemming from genetic
or other causes, such as Down syndrome.

Intellectual disabilities! (IDs) are a subset of DDs that
consist of a group of disorders characterized by limited
or diminished intellectual functioning and difficulty with
adaptive behaviors, such as managing money, schedules
and routines, or social interactions. Onset of ID occurs
before age 18. In some cases, ID can be identified before
the age of two because of delayed social, language, or
motor milestones. Mild levels might not be identifiable
until school age when struggles with academic learning
are more noticeable. ID can result from physical or
genetic causes, such as autism spectrum disorder (ASD)

_ or cerebral palsy, or from nonphysical causes, such as

a lack of stimulation and adult responsiveness during

’ early development. In some legal systems, the additional

parameter of an IQ of 70-75 or below is often used.

The term intellectual and developmental disability
(I/DD) can be used to describe either an ID or DD.

I/DDs are not the same as and should not be confused
with mental illnesses, such as schizophrenia, bipolar

' - At times, intellectual disability is still referred to as “mental retarda-
tion”; however, this phrase is considered outdated, pejprative terminolo-
gy and is not the term preferred by people who have this disability.

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disorder, and depression.’ Officers might not be able to
distinguish between the two during an initial encounter, but
over time, will need to tailor accommodations and services
to meet individual needs.

Some of the more common types of I/DD officers
might encounter include ASD, Down syndrome, and fetal
alcohol spectrum disorder (FASD).

B. Commonly Encountered I/DD Diagnoses

One to two percent of the general population has
I/DD.? In one-third of the people affected by I/DD, the
cause is unknown. In these cases, there is no specific
diagnosis, yet a very real disability is present. While
there are many diagnoses associated with I/DD, the
following are more commonly known disabilities that law
enforcement officers are most likely to encounter:

“Mild” ID (no specific diagnosis). The essential
features of ID are deficits in general mental abilities
and impairment in everyday adaptive functioning
when compared to an individual’s age-, gender-, and
socioculturally-matched peers. Approximately 85 percent
of all people with ID have a “mild” disability.t Due to
the nature of this disability, it often goes unrecognized by
officers and can lead to serious challenges for people once
they become involved in the criminal justice system as
suspects, defendants, incarcerated persons, witnesses, or
victims.

Down Syndrome. Down syndrome is a genetic
disorder caused when abnormal cell division results
in extra genetic material from chromosome 21. This
genetic disorder, which varies in severity, causes lifelong
intellectual disability and developmental delays—and in
some people causes health problems. A majority of people
with Down syndrome have ID as well. They might also
have musculoskeletal weakness and easily recognizable
facial features, including an upward slant to the eye and
single creases on the palms of the hands.

> There are a variety of terms that can be used to describe the concept
of what is commonly referred to as mental illness. In the disability
community, it is common to hear terms such as “psychiatric disability,”
“mental disability,” “mental health disability,” “psychosocial disability,”
or “behavioral health disability.” Those with lived experience might

use terms such as, “consumer of mental health services,” “consumer,”
“peer,” or “client.” Generally speaking, those with lived experience
would not say they are “mentally ill,” though they might say they

“have a mental illness” or use any of the other terminology described
above. Mental health professionals tend to use diagnostic labels, such as
“schizophrenia,” “bipolar disorder,” or “major.depression.”

37 66

+ Sheryl A. Larson et al., “Frevaleyce of Mental Retardation and De-
velopmental Disabilities: Estimates from the 1994/1995 National Health
Interview Survey Disability Supplements,” American Journal on Mental
Retardation 106, no. 3 (May 2001): 231-252.

* American Psychiatric Association, “What Is Intellectual Disability?”

hitps:/Aviww. psy chiatry.ore/patients-families/intelectual-disability:

what-ts-intellectual-disabili

Cerebral Palsy. The term cerebral palsy refers to any
one of a number of neurological disorders that appear in
infancy or early childhood and permanently affect body
movement and muscle coordination, although profound
disabilities are not always present. While one person
with severe cerebral palsy might be unable to walk and
need extensive, lifelong care, another with mild cerebral
palsy might not require such assistance. It is caused by
abnormalities in parts of the brain that control muscle
movements. More than 40 percent of people with cerebral
palsy also have ID.° Cerebral palsy cannot be cured, but
treatment can improve capabilities.

Autism Spectrum Disorder (ASD). One of the most
common forms of I/DD currently being diagnosed is ASD.
The essential features of ASD are persistent impairment in
social communication and social interaction and repetitive
patterns of behavior, interests, or activities. The symptoms
are present from early childhood and can limit or impair
everyday functioning. About 40 percent of people with
ASD also have ID.° According to the Autism Society of
America (ASA), the disability affects 1 in 68 individuals
in the United States.’ Boys are affected about four times
more often than girls. Autism occurs across all races, ethnic
groups, income and education levels, and lifestyles.

ASD is a lifelong disability. With maturity, some
people with ASD might be able to enhance their coping
mechanisms in the areas of communication, socialization,
and decision making. A lack of interpersonal, social, and
verbalization skills is often associated with people who
have ASD.

Fetal Alcohol Spectrum Disorders (FASDs). Children
whose mothers drink alcohol during pregnancy can
develop a wide range of physical, mental, behavioral, and
learning disabilities that fall into the broad continuum
of FASDs, including fetal alcohol syndrome (FAS) and
alcohol-related neurodevelopmental disorder (ARND).
Within the spectrum, some individuals have more severe
deficits, and some have only mild deficits—with the
majority falling somewhere in between. Characteristics of
FASDs can include the following:

5 Centers for Disease Control and Prevention, “Cerebral Palsy (CP):
Data & Statistics for Cerebral Palsy,” hitps://www.cde.gov/nebdddep:
data.htm|

6 Autism Speaks, “Frequently Asked Questions,” hitys://www.aulism-

speaks.org/what-autism/ fag

7 Autism Society, “Facts and Statistics,” What Is Autism? hutp:/wwow.

autism-society.ore/what-is/facts-and4statistics’; National Institutes of
Health, “How Many People Are Affected by Autism?” At Risk, hitns://
www.nichd.nih.gow/health/topies/autism/conditioninto/Paves/at-risk,
aspx; Autism Science Foundation, “How Common Is Autism?” hit(p:/

autismsciencefoundation.org/what-is-autismhow-common-is-autisny;
Centers for Disease Control and Prevention, “Autism Spectrum Disor-
der: Prevalence,” |

utps://www.cde.gov/nebddd/autism/data. him
* Abnormal facial features, including a thin upper
lip, a smooth philtrum (area between upper lip
and nose), and small eye openings

* Central nervous system impairment, which can
be evidenced by microcephaly (a small head) or
decreased intelligence or both

* Hyperactivity and behavior problems, including
explosive episodes, and a lack of impulse control

* Difficulty with judgment and reasoning, in-
cluding vulnerability to peer pressure, struggles
delaying gratification, and problems connecting
cause and effect’

Signs of FASDs are often invisible to officers, yet
studies estimate 35 percent of individuals with FASD
have been in jail or prison at some point in the lifetimes.°
Individuals with FASDs are at high risk for entering the
criminal justice system because their behaviors are usually
assumed to be a result of poor choices, as they might
struggle to understand the consequences of their actions
and often repeat mistakes multiple times.

C. Identifying People with I/DD

Officers are not expected to diagnose people with
different types of I/DD. However, the more knowledge
they have about general behaviors or characteristics of
this population, the more likely it is that they can respond
appropriately. Persons with ASD and other forms of I/DD
are generally nonviolent, unless “triggered” or frightened
by officers or others. Their behaviors can be a response
to the level of frustration they are experiencing or from
overstimulation. The behaviors should not be confused
with those who are in crisis, those who are affected by
mental illness in crisis, or those under the influence of
drugs or alcohol. While everyone with a diagnosis of I/DD
is unique, some indicators officers should keep in mind
include the following.

General Signs. In general, individuals with I/DD may
display the following:

¢ Have difficulty communicating, speaking, and/or
expressing themselves

* Be easily influenced by and/or eager to please
others

* Be unaware of the severity or level of danger of
situations

’ American Academy of Pediatrics, “Fetal Alcohol Spectrum Disor-
ders,” https://wwav.healthvchildren.org/English/health-issues/conditions:
chronic/Pages/Fetal-Alcohol-Spectrum-Disorders.aspx; U.S. Department
of Health and Hunjan Services, Substance Abuse and Mental Health
Services Administration, Fetal Alcohol Spectrum Disorders and the
Criminal Justice System (2007), htips:/‘store.samhsa.vov/shin/cantent//
SMA06-4238/SMA06-4238 pdf

° National Organization on Fetal Alcohol Syndrome, FASD: What the
Justice System Should Know About Affected Individuals, htup://ww.

nofas.org/wp-contentuploads/20 1 +4/05/Faets-for-justice-svstem.pdf

¢ Wish to hide their disability and make efforts to
disguise it

¢ Exhibit uneven gross or fine motor skills

* Be unresponsive to verbal commands

* Have trouble making eye contact

* Be oversensitive or undersensitive to pain or
other stimuli, such as light or sound

* Become easily overwhelmed by a situation

¢ Try to run away or act upset if detained

* Wear medical alert tags or possess other written
material indicating I/DD

As Victims, individuals with I/DD may display these
characteristics:

* Be more easily victimized and targeted for vic-
timization

* Be less likely or able to report victimization

¢ Think that how they have been treated is normal
and not realize the victimization is a crime

¢ Think the perpetrator is a “friend”

* Not be considered as credible witnesses

* Have very few ways to get help, reach a safe
place, or obtain victim services or counseling

As Suspects/Defendants, individuals with I/DD might
also do the following:

* Not understand, but pretend to understand, their
rights

* Say what they think officers want to hear in an
effort to hide their disability or obtain acceptance

* Have difficulty describing facts or details of the
offense

* Be confused about who is responsible for the
crime and falsely “confess” even though inno-
cent

In addition, individuals with ASD might exhibit the
following behaviors:

* Lack of verbal communication or preference
to communicate by pointing or using gestures
rather than words

* Monotone speech without expected inflections

* Repetition of words and phrases, which can in-
clude repeating exactly what an officer says

* Repetitive body movements including, but not
limited to, spinning, rocking, hand flapping, or
flailing arms

* Unusual behaviors and movements, including
rocking back and forth, pacing, or sitting on the
grourjd or floor

* Pigeon-toed gait or running style, or walking on
the balls of the feet or on the toes

* Perceived aloofness and detachment

* Inappropriate clothing for the weather
* Struggle to understand and read others’ verbal,
nonverbal, and various other social cues

* Aversion to touch, loud noise, bright lights, and
general commotion’?

Officers should remember that persons with ASD and
similar I/DDs have unique personalities and characteristics
and are affected by their disability to different degrees.
For example, contrary to popular conceptions of persons
with ASD, some children and adults with this disability
will make eye contact, show affection, smile, laugh, and
demonstrate a variety of other emotions.

One method officers should consider when responding
to calls for service is referred to as the access and
functional needs approach, which focuses on the concept
that each individual at a scene might have different needs
that should be addressed, including needs related to a
disability.'' Following this approach, the officer first
responds to any threats to the safety of the individuals at
the scene, including threats of self-harm. Once safety has
been established, the officer then directs his or her attention
to determining if any of the involved individuals have
specific needs. This might include additional time to calm
down or requesting that a family member be contacted.
Through the use of this approach, officers shift their focus
from determining a diagnosis for the individual to a focus
instead on what actions are needed to successfully resolve
the current situation.

Ill. INTERACTIONS WITH INDIVIDUALS
WITH I/DD

A. Common Law Enforcement Encounters with
People with I/DD

Law enforcement officers may encounter people with
I/DD in a variety of situations. Many encounters will
relate to nuisance calls or situations, odd behavior, persons
acting suspiciously or suspected of being affected by
mental illness, in crisis, or under the influence of drugs,
or situations in which a crime has been presumed to have
been committed even though the person with I/DD is not
aware of any wrongdoing. Common encounters might
include the following:

0 Dennis Debbaudt and Darla Rothman, “Contact with Individuals
vis Autism: Effective Resolutions,” FB/ Law Enforcement Bulletin
(April 2001): 20, hitps:/eb.fbi.gov/2001-pdtsleb-april-2001

For more information, visit “IS-0368 - Including People With
Disabilities and Others With Access and Functional Needs in Disaster
Operations,” https://emilms.tema.gov/IS0368/DISOlsummary.hun and
“Disabilities or Access and Functional Needs,” https://wwv.disasieras-

sistance. gov/information/disabilities-access-and-functior

Wandering.'? Some people with I/DD, and especially
ASD, might wander without telling family, support
persons, or others where they are going or when they
plan to return. This is sometimes characterized as
elopement from a caregiver or support person, but it is
important to note that not all people with I/DD have or °
need supervision as part of their support needs. When
adults or children do wander, they might run aimlessly
or may be spotted walking down the middle of a street or
through neighborhood yards, inappropriately clothed for
the weather conditions, entering unlocked homes or cars,
or wandering into stores or places of business, causing
suspicion. According to a 2017 study, 49 percent of all
children with I/DD attempt to wander or elope and a
substantial number of these children are at risk of bodily
harm.'> People with ASD often have a high attraction to
water. Because of this, first responders and search teams
should immediately check all nearby bodies of water when
a person or child with ASD is missing.

Seizure-like symptoms. Officers may encounter people
with I/DD related to calls for medical assistance, as in the
case of someone having a seizure. Research indicates that
between 20 and 30 percent of children with ASD develop
epilepsy by the time they reach adulthood."

Domestic disputes and disturbance calls. Most
contacts with people with I/DD involve non-criminal
activity. Most people with I/DD live in the community with
varying levels of support. They often have careers and go
about their daily lives just like everyone else. But, due to
their disability, they might react to a situation, event, noise,
or other incident differently than those without a disability.
The initial call for assistance to law enforcement can
therefore appear to deal with a domestic dispute or some
kind of public disturbance.

In these and most other situations, the officer’s
greatest source of information concerning the individual’s
condition, support needs, and the most appropriate way to
communicate and work with the person comes from that
individual. This knowledge can be supplemented by those
who also know the person well—a support person, parent,
peer, or friend.

Atypical, offensive, or suspicious behavior. Persons
with I/DD might not understand social conventions and
appropriate social behavior. This can trigger suspicion
on the part of those who witness atypical, offensive, or

2 Note that the term “eloping” can be used to describe an autistic
individual’s tendency to roam or wander.

8) Connie Anderson et al., “Occurrence and Family Impact of Elope-
ment in Children with Autism Spectrum Disorders,” Pediatrics, 130,
no. 5 (November 2012): 870-877, htip://pediatrics.aappublications.ore/
content 130/5/870

4 “Autism Spectrum Disorder Information Page,” National Institute
of Neurological Disorders and Stroke, htips://\\ww.ninds.nil

gov/Disor-
ders/All-Disorders/ Autism-Spectrum-Disorder-Information-Page

suspicious actions in public and who subsequently call

for assistance. For example, some people with I/DD

might be drawn to a playground in order to use the swings
because this repetitive motion provides pleasure. However,
the individual may be viewed by others as a stranger
playing with young children. The adult with I/DD would
not recognize that it is considered inappropriate for an
unknown adult to play with children. In another example, a
complaint from a store owner of a person rearranging items
or display objects might not be a shoplifter, but, instead, a
person with ASD engaging in the behavior of “ordering”
those items in some sequence that other individuals might
not notice.

The lack of understanding of acceptable social
conventions can manifest itself in other ways. People
with I/DD, like every human being, have sexual urges
and drives, but may lack the full understanding of when,
where, or how to act upon these feelings. Thus, they might
engage in inappropriate sexual behavior or touch others
inappropriately, sometimes out of curiosity rather than for
sexual stimulation or pleasure.

In other cases, the person with I/DD might be attracted
to or infatuated with someone and attempt to speak with or
follow that person. People with I/DD can have a difficult
time reading the emotions of others. Therefore, facial
gestures, body language, subtle remarks, or attempts to
extricate oneself might not be understood by those with
I/DD.

B. High Rate of Victimization

The National Crime Victim Survey revealed that
people with disabilities are more likely to be victimized
than those without disabilities, and that people with
cognitive disabilities (including people with ID) face the
greatest risk." In fact, violence, abuse, and bullying are
frequent realities for people with I/DD, and officers must
be aware of this in order to better serve and protect this
population. The high rate of victimization is due, in part,
to a lack of social skills and awareness that is common
in some people with I/DD, susceptibility to suggestion
from others, and a lack of appreciation for the difference
between lawful and unlawful acts. People with I/DD might
also be used as “runners” to carry out criminal activity
in unsafe neighborhoods or environments, or they can
experience abuse or neglect from caregivers in private or
institutional settings.

Once victimization occurs, barriers to justice include
the following:

'S Erika Harrell, Crimes against Persons with Disabilities, 2009-2012
Statistical Tables (Washington, D.C.: Bureau of Justice Statistics, U.S.
Department of Justice, February 2014), http:/www.bis.2ov/content/pub/
pdffcapd09 t2st.pdf

* Lower rates of law enforcement follow-up, pros-
ecution, and conviction of perpetrators

* Physical and cognitive barriers to the judicial
system, including difficulties accessing court-
rooms and the judicial process

* Mistaken beliefs that people with disabilities are .
untrustworthy or are not credible or competent to
be witnesses

* Speech and/or cognition difficulties'®

There are few supports in place to help victims with
I/DD report crimes. Often people with I/DD experience
multiple victimizations over their lifetime. Many people
with I/DD are credible witnesses as proven by case
law in which people have been permitted to testify
using accommodations, such as answering only yes or
no questions, pointing, or tapping a pencil to answer
questions. It is important that law enforcement officers do
not assume that people with I/DD cannot communicate but
should instead determine what supports the person needs
to communicate. Officers must be aware of how common
victimization is in this population and make every effort to
take allegations of victimizations seriously.

C. General Rules for De-escalating Encounters
with Individuals with I/DD

If officers recognize factors that underlie the fears
and anxieties of a person with I/DD, they can generally
resolve a situation without it escalating into a crisis
situation. Knowing that a person with I/DD might have
a hard time following detailed instructions or may repeat
instructions, commands, statements, or questions, officers
should keep in mind that the person is not being willfully
or purposefully belligerent or noncompliant, but might be
acting in a typical fashion given the disability.

Officers may encounter situations in which an
individual with I/DD is or becomes highly agitated. There
can be signs and behaviors that lead an officer to believe
the person is affected by mental illness, is in crisis, or
has I/DD. However, it is not the officer’s responsibility to
make a diagnosis. The first objective in these situations is
to de-escalate the situation or avoid escalating an otherwise
non-emergency or non-threatening situation.

Some people with I/DD can become easily upset,
engage in self-harming behaviors, or potentially become
aggressive. Fear, including fear of officers, frustration,
and changes in their daily routines and surroundings, can
trigger such behavior. The mere presence of an officer can
be a source of stress. In addition, people with mpd often

6 Violence, Abuse and Bullying Affecting People with Intellectual/

Developmental Disabilities: A Call to Action for the Criminal Justice
Community (Washington, D.C.: The Arc’s National Center on Crim-

inal Justice and Disability, 2015), hiip/wway.theare.org/document

doc?id=5145
have impairments that make it difficult for them to process
incoming sensory information. For example, some might
experience buzzing or humming in their ears that makes it
difficult for them to hear. Therefore, officers should utilize
the following de-escalation strategies when interacting with
individuals with I/DD."’

Speak calmly. Using a stern, loud command tone
to gain compliance will often have either no effect or a
negative effect on a person with I/DD.

Repeat short, direct phrases in a calm voice. For
example, rather than saying “Let’s go over to my car
where we can talk,” officers should simply repeat “Come
here,” while pointing until the person’s attention and
understanding is obtained. Officers should be aware that
the person may have a visual, hearing, or other impairment
that limits his or her ability to follow instructions. Slang
and expressions (e.g., “spread ’em”) may have little or
no meaning to persons with I/DD. It is preferable to use
simple and direct language, giving the person additional
time to process and understand a request.

Use nonthreatening body language, soft gestures, and
avoid abrupt movement or actions. In addition, officers
should attempt to keep their hands at their sides and visible
to the person.

When reasonable and practical, avoid touching the
person. Some individuals might react to touch by pulling
away or slapping the officer’s hand. Officers should
recognize that the reaction is not a form of resisting arrest,
but a reaction to the sensation of being touched.

Maintain a safe distance. Officers should provide the
person with a zone of comfort that will also serve as a
buffer for officer safety.

Eliminate possible sources of stress. Knowing that
some people with I/DD are hypersensitive to loud sounds,
bright lights, and other sources of stimulation, to the degree
possible, officers should turn off sirens and flashing lights;
ask others to move away; or, if possible, move the person
to more quiet surroundings. Public address systems should
not be used to issue directives.

Keep animals away. Officers should keep canines in
the law enforcement vehicle and preferably away from the
area, but be aware that a person may have a service animal.
Whenever reasonable and practical, officers should not
separate a person and his or her service animal.

Whenever reasonable and practical, do not take
mobility devices, such as canes, scooters, or wheelchairs
away from the person. If necessary to move or transport
such items, officers should ask the person the best way to
do so.

‘7 Dennis Debbaudt, Autism, Advocates, and Law Enforcement Profes-
sionals: Recognizing and Reducing Risk Situations for People with Au-
tism Spectrum Disorders (Philadelphia, PA: Jessica Kingsley Publishers,
2002), 29-30.

Look for personal identification. Some people with
I/DD wear medical identification tags on the their wrists,
neck, shoes, belt, or other apparel. Some individuals, both
verbal and non-verbal, carry wallet cards noting that they
have I/DD and providing a contact name and telephone
number of a family member, disability advocacy agency,
information about where they live, or other contact
information. Officers should understand that if a person
with I/DD is reaching into a pocket or bag, it could be
to pull out such an identification card. Some people with
I/DD have been trained to retrieve their identification
card automatically upon interacting with an officer. Some
people with I/DD may also have motor impairments that
make it difficult to retrieve such a card. If safe to do so,
officers should wait patiently for the person to retrieve the
card and be ready to provide assistance if asked. Officers
must keep in mind that not everyone who has I/DD will
have such an identification card—programs do not exist in
every jurisdiction and where they do exist, they should be
voluntary for those who wish to self-identify as having a
disability to their local first responders.

Call the contact person, support person, or disability
advocacy organization. If desired by the person, officers
should call the appropriate support person, caseworker,
group home worker, or disability advocate. Such support
people can be a valuable resource to officers and may be
able to offer specific advice on calming or ensuring the
safety of the person.

Be prepared for a potentially long encounter. Dealings
with such individuals should not be rushed unless there
is an emergency situation. De-escalation of the situation
using calming communication techniques can take time,
and officers should inform their communications personnel
or supervisor or both that this might be the case if
circumstances dictate.

Dont interpret atypical or odd behavior as belligerent.
In a tense or even unfamiliar situation, some people with
Y/DD might shut down and close off unwelcome stimuli
(e.g., cover ears or eyes, lie down, shake or rock, repeat
questions, sing, hum, make noises, or repeat information in
a robotic way). This behavior is a protective mechanism for
dealing with troubling or frightening situations. Officers
should not stop the person from such behavior unless it is
harmful to himself or herself or others.

Be aware of different forms of communication. Some
people with I/DD carry a book of universal communication
icons. Pointing to one or more of these icons will allow
these individuals to communicate where they live, their
parent’s name, address, or what the individuals might
need. Those with communication difficulties may also
demonstrate limited speaking capabilities, at times
incorrectly using words, such as “You” when they mean
ap»
In some situations, de-escalation strategies may not be
appropriate. However, the use of force should be carefully
considered among this population especially, and law
enforcement agencies should provide examples of how and
when using force is applicable to those with I/DD.'8

D. Taking People with I/DD into Custody

Officers should seek alternatives to physical custody
of individuals with I/DD, as it is likely to initiate a
severe anxiety response and further escalate the situation.
Therefore, in minor offense situations, officers should
explain the circumstances to the complainant and explore
alternative means to remedy the situation. This normally
will involve release of the person to a family member,
support person, or community-based diversion program.
In more serious offense situations or where alternatives
to arrest are not permissible, officers shall observe the
following guidelines:

1. Contact a supervisor.

2. Employ calming and reassuring language and
de-escalation protocols.

3. If possible, contact the person’s family member,
support person, or other trusted individual to
accompany him or her and to assist in the calming
and intervention process. If a support person is not
readily available, request an individual appropri-
ately trained in crisis intervention, if available.

4. When reasonable and practical, avoid physical re-
straints. The use of such restraints might injure the
person or limit the person’s ability to communicate
(e.g., a person who uses American Sign Language
can no longer sign) or move independently (e.g.,
someone who uses a wheelchair or scooter can no
longer use these devices). In many countries, the
law requires that reasonable modifications be made
to existing policies and procedures for persons
with disabilities. Agencies should work to create
flexible restraint policies when persons with dis-
abilities must be taken into custody.

5. Avoid using body weight to restrain a person with
I/DD whenever possible. If unavoidable, extreme
caution should be exercised. For people with cer-
tain types of disabilities, body weight restraints can
be dangerous or harmful. For example, for those
with limited ability to control their motor move-
ment, commonly seen in those with cerebral palsy,
body weight restraint can increase the chance of
bone fractures and other severe injuries. For those
with other types of I/DD, such as ASD, being sub-

18 The Arc’s National Center on Criminal Justice and Disability, Path-
ways to Justice: A Comprehensive Training Program for Law Enforce-
ment, Victim Service Providers, and Attorneys on Intellectual, Develop-
mental, and Other Disabilities, htip://www.thearc.ore/NCCID training

jected to a body weight restraint can be physically
excruciating, as the person may experience phys-
ical stimuli much more intensely than individuals
without I/DD.

6. In accordance with this agency’s policy on trans-
portation of prisoners, search the individual for
weapons prior to transport. Do not remove any
assistive devices from the person if at all possible,
including canes, communication icons, hearing
aids, braces, etc.

7. Prior to giving a Miranda or other custodial rights
warning, consult a detective or investigator and
have the person’s lawyer present to help protect his
or her rights.

8. Do not incarcerate the person in a holding facility,
if possible and practical. If the person must be de-
tained, ask if the person prefers to be housed alone
or with a smaller group of people or in a larger
group, in accordance with agency policy. Some
people with I/DD will be greatly harmed by place-
ment in administrative segregation. Note during
booking that the person has I/DD and should be
classified and assigned to the appropriate housing
unit. No person with I/DD should be housed in a
medical unit unless treatment is needed.

9. Until alternative arrangements can be made, and
when safe to do so, put the person in a quiet room
with subdued lighting with a support person if
requested, another responsible individual, or an
officer who has experience interacting with indi-
viduals with I/DD.

10. Provide the person with any comfort items or
assistive devices that might have been in his or her
possession at the time of arrest (e.g., toys, canes,
reading devices, etc.) in accordance with agency
policy.

E. Interviews and Interrogations

Officers conducting interviews or interrogations of
people suspected of having I/DD should obtain training
on this topic in order to conduct effective interviews and
protect individual rights.'®

Officers should consult a supervisor, detective, or
investigator assigned to the case or the prosecuting
attorney’s office to determine how to proceed.
Interrogations of people with I/DD should be recorded and
the person notified that the interrogation is being recorded.
The Miranda or other custodial rights warning should
not be given to suspects with I/DD without their lawyer

For example, see Victims with Disabilities: The Forensic Inter-
view — Techniques for Interviewing Victims with Communication and/
or Cognitive Disabilities (Washington, D.C.: The Office for Victims of
Crime, revised July 2011), http:/vww.ove.gov/publications/infores/pd-

ftxt‘VictimsGuideBook.pdf
present. Some people with I/DD might not fully understand
their rights, but will agree with the officer in order to
hide their disability or appear cooperative. Alternative
or simpler versions of the Miranda or other custodial
rights advisements may be used, but officers should ask
suspects to repeat their rights in their own words to ensure
understanding.

When interviewing individuals with I/DD, officers
should observe the following in order to obtain valid
information:

1. Determine the individual’s primary mode of
communication and provide necessary accommo-
dations, devices, or translation services, or any
combination of these.

2. Do not interpret lack of eye contact and atypical
actions or responses as indications of deceit, de-
ception, or evasion of questions.

3. Use simple, straightforward questions. Howev-
er, avoid yes or no questions, as the individual
might simply choose either yes or no in an effort
to please the officer, rather than provide factual
information.

4. Do not suggest answers, attempt to complete
thoughts of persons slow to respond, or pose hypo-
thetical conclusions, recognizing that people with
I/DD can be more easily manipulated and can also
be highly suggestible.

The diversity among the I/DD community can create
its own set of challenges because some persons might
not clearly show signs of the disability until they are
questioned more closely. In these types of cases, the
interviewer may sense that there is something unusual
about the manner in which the person acts or responds to
questions. These behaviors, as previously noted, can cause
interviewers to make assumptions about the person that are
untrue or misleading.

For example, the person’s inability to maintain eye
contact would understandably be seen as an indicator
that he or she is attempting to hide something or is being
untruthful. Interviewers and interrogators may attempt
to elicit more information by showing great personal
appreciation and friendliness, mock sympathy, or personal
understanding for the individual’s “situation,” or may
plant suggestions to gain responses. People with I/DD
might have a variety of reactions to such interview and
interrogation techniques. For example, they may believe
that the officer who shows personal friendship, sympathy,
and helpful understanding is a true friend. As such, the
suspect might simply go along with whatever suggestions
the officer may make under the belief that a “friend” would
not be wrong or misguide them. Persons with I/DD might
respond affirmatively to suggestions that they saw things,

committed acts, or were accomplices in activities to please
their “friend.”

Some individuals with I/DD are very literal/concrete,
honest, and straightforward in their approach to others
and believe that others are the same with them. They do
not understand trickery or deceit just as they typically
do not comprehend innuendo, jokes, slang, or sarcasm.
Because of these factors, officers who are questioning
victims, witnesses, or suspects who have or are suspected
of having I/DD should be as straightforward as possible
and recognize that typical interrogation techniques that
employ half-truths or subterfuge will not work effectively
with this population and may even increase the risk of
false confessions. When an officer or investigator begins to
establish that the person might have I/DD, he or she should
seek the assistance of a trained mental health professional
or volunteer with experience working with people with
V/DD.

Acknowledgment
This document was developed in conjunction with The

Are.

Every effort has been made by the IACP Law
Enforcement Policy Center staff and advisory group to
ensure that this document incorporates the most current
information and contemporary professional judgment on
this issue. Readers outside of the United States should note
that, while this document promotes procedures reflective of
a democratic society, its legal basis follows United States
Supreme Court rulings and other federal laws and statutes.
Law enforcement administrators should be cautioned that
no “model” policy can meet all the needs of any given law
enforcement agency. Each law enforcement agency operates
in a unique environment of court rulings, state laws,
local ordinances, regulations, judicial and administrative
decisions and collective bargaining agreements that must
be considered, and should therefore consult its legal advisor
before implementing any policy. In addition, the formulation
of specific agency policies must take into account local
political and community perspectives and customs,
prerogatives and demands; often divergent law enforcement
strategies and philosophies; and the impact of varied agency
resource capabilities among other factors. This document is
not intended to be a national standard.

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[ACP LAW ENFORCEMENT POLICY CENTER

Need to Know......

Interactions with Individuals with
Intellectual and Developmental Disabilities

Individuals with intellectual and developmental disabilities (I/DDs) might be limited in their ability
to effectively communicate and interact with law enforcement. Therefore, officers should be familiar
with the potential signs of I/DDs and adjust their responses accordingly.

Developmental disabilities (DDs) are long-term disabilities attributable to a physical, mental, or a combination of
impairments that result in functional limitations in major life activities, such as understanding and expressing lan-
guage, learning, moving, self-direction, self-care, independent living, and economic self-sufficiency.

Intellectual disabilities (IDs) are a subset of DDs characterized by limited or diminished intellectual functioning and
difficulty with adaptive behaviors such as managing money, schedules and routines, or social interactions.

Examples of I/DD include autism spectrum disorder, Down syndrome, and fetal alcohol spectrum disorder.

Severity of I/DD can range from mild to severe. These individuals might be high-functioning, active members of the
community; they can also be non-verbal and require higher levels of supports and services.

Common law enforcement interactions with individuals with I/DD might include manipulation by criminals without
disabilities, victimization, disruptive or suspicious behavior, domestic disturbances, wandering, and medical emergen-
cies, including seizures.

Utilize de-escalation techniques during encounters with individuals believed to have I/DD.

Exercise patience when interacting with individuals with I/DD. The person with I/DD might become easily upset,
engage in self-harming behaviors, or may even become aggressive. However, an officer’s calm response can assist in
minimizing such behaviors.

When available, consult a family member or other support person if unable to effectively communicate or interact
with the person himself or herself. A support person or family member should be familiar with the individual’s dis-
ability and may be able to provide suggestions on how to more effectively communicate with the individual. Officers
might also wish to request the assistance of a disability advocacy organization.

If possible, consider alternatives to taking custody of the individual. However, if an arrest is necessary, make every
effort to minimize the possibility of associated trauma.

Avoid giving Miranda or other custodial rights warnings to suspects with I/DD without an attorney or other advo-
cate present who can ensure the person’s rights are protected. Officers should check for understanding of the Miran-
da or other custodial rights warning by asking the pefson in custody to repeat back his or her rights using their own

words.
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44 Canal Center Plaza, Suite 200, Alexandria, VA 22314

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